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                                GIADA REAL ESTATE TULUM

                                    $135,000
                     Studio Ready for Delivery, , Tulum, 77760




• Type: Residential • Style: Single Story • Bedrooms: 1 • Bathrooms: 1 • Size: 36 square feet



      GIADA REAL ESTATE TULUM                                            GIADA REAL ESTATE TULUM
      office@giadarealestate.com                                          Plaza Paraiso, Tulum, 77760
      +521 984 149-1122
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                 Case 1:21-cr-00411-APM Document 34-2 Filed 11/21/21 Page 2 of 3
 Details

Property Summary
 Type: Residential
 Style: Single Story
 Bedrooms: 1
 Bathrooms: 1
 Garage: No
 Size: 36 square feet
 Has Suite: No
 Year Built: 2020
 Development Level: Built

Description
Studio ready to be delivered in Moonlight Residence, a
building of 32 units with concierge, 24/7 security, rooftop
infinity pool, gym, bar and access to private cinema!
The building is located inside of the most exclusive
residencial area in Tulum, Aldea Zamá, with the most
advanced development and infrastructure and the most
luxurious commercial area.
Unit is ready to be delivered and entitled, ready to be put in
the market of vacation rental.
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Additional Photos




                       Information is deemed to be correct but not guaranteed.
